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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


HOWARD COHAN,                                        CASE NO.: 16 cv 7946

       Plaintiff,

vs.                                                  INJUNCTIVE RELIEF SOUGHT


WALDORF =ASTORIA MANAGEMENT LLC                      AMENDED
d/b/a WALDORF ASTORIA CHICAGO

     Defendant(s)
_________________________/


                           FIRST AMENDED COMPLAINT

       Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned

counsel, hereby files this First Amended Complaint and sues WALDORF ASTORIA

CHICAGO, (“Defendant”), for declaratory and injunctive relief, attorney’s fees,

expenses and costs (including, but not limited to, court costs and expert fees)

pursuant to 42 U.S.C. § 12182 et. seq., and the 2010 Americans with Disabilities

Act (“ADA”) and alleges as follows:

                            JURISDICTION AND VENUE

       1.     This Court is vested with original jurisdiction over this action pursuant

to 28 U.S.C. §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. §

12182 et. seq., based on Defendant’s violations of Title III of the ADA. See also,

28 U.S.C. §§ 2201, 2202, as well as the 2010 ADA Standards.

       2.     Venue is proper in this Court, Northern District of Illinois, Eastern

Division, pursuant to 28 U.S.C. §1391(B) and the Internal Operating Procedures for
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the United States District Court for the Northern District of Illinois in that all events

giving rise to the lawsuit occurred in Chicago, Illinois.



                                       PARTIES

       3.     Plaintiff, HOWARD COHAN is sui juris and is a resident of the State of

Florida residing in Palm Beach County, Florida.

       4.     Upon information and belief, Defendant is the lessee, operator, owner

and/or lessor of the Real Property, which is subject to this suit, and is located at 11

E Walton Street, Chicago, IL 60611 (“Premises”), and is the owner of the

improvements where Premises is located.

       5.     Defendant is authorized to conduct, and is in fact conducting, business

within the State of Illinois.

       6.     Plaintiff is an individual with numerous disabilities including spinal

stenosis, which causes a restriction to his spinal canal, resulting in a neurological

deficit . At the time of Plaintiff’s visit to the Premises on August 28, 2015 (and prior

to instituting this action), Plaintiff suffered from a “qualified disability” under the

ADA, and required the use of bathroom facilities, a continuous path of travel

connecting all essential elements of the facility and the use of other means of

accessibility for persons with disabilities. Plaintiff personally visited the Premises,

but was denied full and equal access and full and equal enjoyment of the facilities,

services, goods, and amenities within the Premises, even though he would be

classified as a “bona fide patron”.
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       7.     Plaintiff will avail himself of the services offered at the Premises in the

future, provided that Defendant modifies the Premises or modifies the policies and

practices to accommodate individuals who have physical disabilities.

       8.     Completely independent of the personal desire to have access to this

place of public accommodation free of illegal barriers to access, Plaintiff also acts as

a “tester” for the purpose of discovering, encountering and engaging discrimination

against the disabled in public accommodations. When acting as a “tester”, Plaintiff

employs a routine practice.      Plaintiff personally visits the public accommodation;

engages all of the barriers to access, or at least of those that Plaintiff is able to

access; tests all of those barriers to access to determine whether and the extent to

which they are illegal barriers to access; proceeds with legal action to enjoin such

discrimination; and subsequently returns to Premises to verify its compliance or

non-compliance with the ADA and to otherwise use the public accommodation as

members of the able-bodied community are able to do.               Independent of other

subsequent visits, Plaintiff also intends to visit the Premises regularly to verify its

compliance or non-compliance with the ADA, and its maintenance of the accessible

features of Premises. In this instance, Plaintiff, in Plaintiff’s individual capacity and

as a “tester”, visited Premises, encountered barriers to access at Premises, and

engaged and tested those barriers, suffered legal harm and legal injury, and will

continue to suffer such harm and injury as a result of the illegal barriers to access

and the ADA violations set forth herein. It is Plaintiff’s belief that said violations will

not be corrected without Court intervention, and thus Plaintiff will suffer legal harm

and injury in the near future.
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           VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

      9.        Plaintiff adopts and re-alleges the allegations stated in paragraphs 1

through 8 above as if fully stated herein.

     10.        On July 26, 1990, Congress enacted the Americans With Disabilities

Act (“ADA”)), 42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one

and a half (1.5) years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992, or

January 26, 1993 if Defendant(s) have ten (10) or fewer employees and gross

receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).

     11.        As stated in 42 U.S.C § 12101(a)(1)-(3),(5) and (9) Congress found,

                among other things, that:

           a.   some 43,000,000 Americans have one or more physical or mental

                disabilities, and this number shall increase as the population continues

                to grow older;

           b.   historically, society has tended to isolate and segregate individuals

                with disabilities and, despite some improvements, such forms of

                discrimination against disabled individuals continue to be a pervasive

                social problem, requiring serious attention;

           c.   discrimination against disabled individuals persists in such critical

                areas as     employment,        housing,       public   accommodations,

                transportation, communication, recreation, institutionalization, health

                services, voting and access to public services and public facilities;

           d.   individuals with disabilities continually suffer forms of discrimination,

                including outright intentional exclusion, the discriminatory effects of
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               architectural, transportation, and communication barriers, failure to

               make modifications to existing facilities and practices.     Exclusionary

               qualification standards and criteria, segregation, and regulation to

               lesser services, programs, benefits, or other opportunities; and,

          e.   the continuing existence of unfair and unnecessary discrimination and

               prejudice denies people with disabilities the opportunity to compete on

               an equal basis and to pursue those opportunities for which our country

               is justifiably famous, and accosts the United States billions of dollars in

               unnecessary     expenses    resulting   from    dependency     and    non-

               productivity.

    12.        As stated in 42 U.S.C. § 12101(b)(1)(2) and (4) Congress explicitly

               stated that the purpose of the ADA was to:

          a.   provide a clear and comprehensive national mandate for elimination of

               discrimination against individuals with disabilities;

          b.   provide clear, strong, consistent, enforceable standards addressing

               discrimination against individuals with disabilities; and

          c.   invoke the sweep of congressional authority, including the power to

               enforce the fourteenth amendment and to regulate commerce, in order

               to address the major areas of discrimination faced on a daily basis by

               people with disabilities.

   13.         Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010

ADA Standards, Defendant’s Premises is a place of public accommodation covered

by the ADA by the fact it provides services to the general public and must be in

compliance therewith. The building and/or Premises, which is the subject of this
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action, is a public accommodation covered by the ADA and which must be in

compliance therewith.

    14.       Defendant has discriminated and continues to discriminate against

Plaintiff and others who are similarly situated, by denying access to, and full and

equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations located at the Premises, as prohibited by 42 U.S.C. § 12182 and

42 U.S.C. § 12101 et. seq., and by failing to remove architectural barriers pursuant

to 42 U.S.C. § 12182(b)(2)(A)(iv).

    15.       Plaintiff has visited Premises, and has been denied full and safe equal

access to the facilities and therefore suffered an injury in fact.

    16.       Plaintiff would like to return and enjoy the goods and/or services at

Premises on a spontaneous, full and equal basis.        However, Plaintiff is precluded

from doing so by the Defendant’s failure and refusal to provide disabled persons

with full and equal access to their facilities. Therefore, Plaintiff continues to suffer

from discrimination and injury due to the architectural barriers that are in violation

of the ADA.

    17.       Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice, Officer of the Attorney General promulgated Federal

Regulations to implement the requirements of the ADA. See 28 C.F.R. § 36 and its

successor the 2010 ADA Standards ADA Accessibility guidelines (hereinafter

referred to as “ADAAG”), 28 C.F.R. § 36, under which said Department may obtain

civil penalties of up to $55,000.00 for the first violation and $110,000.00 for and

subsequent violation.
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         18.   Defendant is in violation of 42 U.S.C. § 12182 et. seq. and the 2010

American Disabilities Act Standards et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found in valet front of

hotel:

          a.   Failing to provide a passenger loading zone with an access aisle

               marked with striping in violation of 2010 ADAAG §§ 209, 209.1, 209.4,

               503, 503.1, 503.3 and 503.3.3.

         19.   Defendant is in violation of 42 U.S.C. § 12182 et. seq. and the 2010

American Disabilities Act Standards et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found in hotel reception:

          a.   Providing counter heights exceeding 36 inches making it impossible to

               service a person with a disability in violation of 2010 ADAAG §§ 904,

               904.4, 907.4.1 and 904.4.2.

         20.   Defendant is in violation of 42 U.S.C. § 12182 et. seq. and the 2010

American Disabilities Act Standards et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found in restroom near

Business Center Floor #2:

          a.   Providing a gate or door with a continuous opening pressure of greater

               than 5lbs exceeding the limits for a disabled person in violation of

               2010 ADAAG §§ 404, 404.1, 404.2, 404.2.9 and 309.4.

          b.   Failure to provide operable parts that are functional or are in the

               proper reach ranges as required for a person with a disability in

               violation of 2010 ADAAG §§ 309, 309.1, 309.3 and 309.4.
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          c.   Failure to provide grab bars at 33 inches minimum and 36 inches

               maximum above the finish floor measured to the top of the gripping

               surface in violation of 2010 ADAAG §§ 604, 609 and 609.4.

          d.   Failure to provide toilet paper dispensers in the proper position in front

               of the water closet or at the correct height above the finished floor in

               violation of 2010 ADAAG §§ 604, 604.7 and 309.4.

          e.   Failure to provide a coat hook within the proper reach ranges for a

               person with a disability in violation of 2010 ADAAG §§ 603, 603.4 and

               308.

          f.   Failure to provide mirror(s) located above lavatories or countertops at

               the proper height above the finished floor in violation of 2010 ADAAG

               §§ 603 and 603.3.

          g.   Failure to provide the water closet in the proper position relative to the

               side wall or partition in violation of 2010 ADAAG §§ 604 and 604.2.

          h.   Failure to provide the water closet seat at the correct height above the

               finished floor in violation of 2010 ADAAG §§ 604 and 604.4.

    21.        Defendant is in violation of 42 U.S.C. § 12182 et. seq. and the 2010

American Disabilities Act Standards et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found in men’s restroom

floor #3 general:

          a.   Providing a gate or door with a continuous opening pressure of greater

               than 5lbs exceeding the limits for a person with a disability in violation

               of 2010 ADAAG §§ 404, 404.1, 404.2, 404.2.9 and 309.4.
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          b.   Failure to provide mirror(s) located above lavatories or countertops at

               the proper height above the finished floor in violation of 2010 ADAAG

               §§ 603 and 603.3.

    22.        Defendant is in violation of 42 U.S.C. § 12182 et. seq. and the 2010

American Disabilities Act Standards et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found in men’s restroom

floor #3 accessible stall:

          a.   Providing a gate or door with a continuous opening pressure of greater

               than 5lbs exceeding the limits for a person with a disability in violation

               of 2010 ADAAG §§ 404, 404.1, 404.2, 404.2.9 and 309.4.

          b.   Failure to provide the proper spacing between a grab bar and an

               object projecting out of the wall in violation of 2010 ADAAG §§ 604,

               604.5, 604.5.1, 604.5.2, 609 and 609.4.

          c.   Providing grab bars of improper horizontal length or spacing on the

               back or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1,

               604.5.2, 609 and 609.4.

          d.   Failure to provide toilet paper dispensers in the proper position in front

               of the water closet or at the correct height above the finished floor in

               violation of 2010 ADAAG §§ 604, 604.7 and 309.4.

          e.   Failure to provide a coat hook within the proper reach ranges for a

               person with a disability in violation of 2010 ADAAG §§ 603, 603.4 and

               308.
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    23.        Defendant is in violation of 42 U.S.C. § 12182 et. seq. and the 2010

American Disabilities Act Standards et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found at spa level:

          a.   Failure to provide a means of entry at the pool as required for persons

               with a disability such as a pool lift chair, sloped entry, transfer wall or

               transfer platform in violation of 2010 ADAAG §§ 242, 242.1, 242.2 and

               1009.

    24.        Defendant is in violation of 42 U.S.C. § 12182 et. seq. and the 2010

American Disabilities Act Standards et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found at spa level men’s

restroom:

          a.   Failure to provide operable parts that are functional or are in the

               proper reach ranges as required for a person with a disability in

               violation of 2010 ADAAG §§ 309, 309.1 309.3 and 309.4.

          b.   Failure to provide sufficient clear floor space around a water closet

               without any obstructing elements in this space in violation of 2010

               ADAAG §§ 4.22, 603, 603.2.3, 604, 604.3 and 604.3.1.

          c.   Failure to provide grab bars at 33 inches minimum and 36 inches

               maximum above the finished floor measured to the top of the gripping

               surface in violation of 2010 ADAAG §§ 604, 609 and 609.4.

          d.   Failure to provide toilet paper dispensers in the proper position in front

               of the water closet or at the correct height above the finished floor in

               violation of 2010 ADAAG §§ 604, 604.7 and 309.4.
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         e.   Failure to provide mirror(s) located above lavatories or countertops at

              the proper height above the finished floor in violation of 2010 ADAAG

              §§ 603 and 603.3.

         f.   Failure to provide the water closet in the proper position relative to the

              side wall or partition in violation of 2010 ADAAG §§ 604 and 604.2.

      25.     Defendant is in violation of 42 U.S.C. § 12182 et. seq. and the 2010

American Disabilities Act Standards et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found in men’s restroom

level 5 ballroom general:

         a.   Providing a gate or door with a continuous opening pressure of greater

              than 5lbs exceeding the limits for a person with a disability in violation

              of 2010 ADAAG §§ 404, 404.1, 404.2, 404.2.9 and 309.4.

         b.   Failure to provide mirror(s) located above lavatories or countertops at

              the proper height above the finished floor in violation of 2010 ADAAG

              §§ 603 and 603.3.

      26.     Defendant is in violation of 42 U.S.C. § 12182 et. seq. and the 2010

American Disabilities Act Standards et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found in men’s restroom

level 5 ballroom accessible stall:

         a.   Failure to provide grab bars at 33 inches minimum and 36 inches

              maximum above the finish floor measured to the top of the gripping

              surface in violation of 2010 ADAAG §§ 604, 609 and 609.4.
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          b.   Failure to provide toilet paper dispensers in the proper position in front

               of the water closet or at the correct height above the finished floor in

               violation of 2010 ADAAG §§ 604, 604.7 and 309.4.

          c.   Failure to provide a coat hook within the proper reach ranges for a

               person with a disability in violation of 2010 ADAAG §§ 603, 603.4 and

               308.

    27.        To the best of Plaintiff’s belief and knowledge, Defendant has failed to

eliminate the specific violations set forth in paragraph 18, 19, 20, 21, 22, 23, 24 25

and 26 herein.

    28.        Subsequent to the date of Plaintiff’s visit to the Subject Facility, an

expert determined that the violations referenced above were still outstanding.

Although Defendant is charged with having knowledge of the violations, Defendant

may not have actual knowledge of said violations until this Complaint makes

Defendant aware of same.

   29.         To date, the readily achievable barriers and other violations of the ADA

still exist and have not been remedied or altered in such a way as to effectuate

compliance with the provisions of the ADA.

   30.         Pursuant to the ADA, 42 U.S.C. § 12101 et. seq., and 28 C.F.R. §

36.304, the Defendant was required to make the establishment a place of public

accommodation, accessible to persons with disabilities by January 28, 1992. As of

the date of the filing of this Complaint, Defendant has failed to comply with this

mandate.

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¹It is believed these same violations are present in the Women’s Restroom.
 However, due to Plaintiff’s gender same could not be confirmed by Plaintiff.
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  31.         Plaintiff has retained the undersigned counsel for the filing and

prosecution of this action.    Plaintiff is entitled to have his reasonable attorney’s

fees, costs and expenses paid by Defendant, pursuant to 42 U.S.C § 12205.

  32.         All of the above violations are readily achievable to modify in order to

bring Premises or the Facility/Property into compliance with the ADA.

  33.         In instance(s) where the 2010 ADAAG standard does not apply, the

1991 ADAAG standard applies and all of the violations listed in paragraph 18, 19,

20, 21, 22, 23, 24, 25 and 26 herein can be applied to the 1991 ADAAG standards.

  34.         Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff’s injunctive relief, including an order to alter the subject facility to

make them readily accessible to and useable by individuals with disabilities to the

extent required by the ADA and closing the Subject Facility until the requisite

modifications are completed.

  WHEREFORE, Plaintiff demands judgment against Defendant and requests the

following injunctive and declaratory relief:

        1.    That this Court declares that Premises owned, operated and/or

              controlled by Defendant is in violation of the ADA;

        2.    That this Court enter an Order requiring Defendant to alter their

              facilities to make them accessible to and usable by individuals with

              disabilities to the full extent required by Title III of the ADA;

        3.    That this Court enter and Order directing the Defendant to evaluate

              and neutralize their policies, practices and procedures toward persons

              with disabilities, for such reasonable time so as to allow the Defendant

              to undertake and complete corrective procedures to Premises;
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      4.    That this Court award reasonable attorney’s fees, all costs (including,

            but not limited to the court costs and expert fees) and other expenses

            of suit to the Plaintiff; and,

      5.    That this Court award such other and further relief as it may deem

            necessary, just and proper.



Dated this 16th day of August, 2016.

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